     Case: 1:17-cv-01337
                      THEDocument
                           UNITED #:STATES
                                     41 Filed:DISTRICT
                                               11/13/17 Page 1 of 10 PageID #:114
                                                         COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BURTON,                                      )
                                             )       Case No. 17-CV-1337
                              Plaintiff,     )
v.                                           )       Judge Amy J. St. Eve
                                             )       Magistrate Judge M. David Weisman
CHICAGO PUBLIC SCHOOLS aka                   )
BOARD OF EDUCATION,                          )
CITY OF CHICAGO                              )
CHICAGO BOARD OF EDUCATION,                  )
SCHOOL DIRECTORS OF                          )
DISTRICT NO. 299,                            )
COUNTY OF COOK                               )
AND STATE OF ILLINOIS,                       )
DAMIR ARA )                                  )
MOLLIE HART                                  )
GABRIELA GONZALEZ                            )
MARY ERNESTI,                                )
                                             )
                              Defendants.    )

                               FIRST AMENDED COMPLAINT

        This is an action for employment discrimination.          The plaintiff is Annie Burton

(“Plaintiff”) of the county of Cook in the state of Illinois. The Defendant is Chicago Public School

aka City of Chicago, Board of Education Chicago Board of Education, School Directors of District

No. 299, County of Cook and State of Illinois (“Chicago Public Schools”: or “CPS”), a corporate,

governmental unit, and a political subdivision of the State of Illinois, established pursuant to the

laws of the State of Illinois (The Board of Education is located in Chicago, Illinois, within the

jurisdiction of Northern District of Illinois, Eastern Division); Damir Ara, Assistant Principal at

Lane Technical High School; Mollie Hart, Human Resources personnel; Gabriela Gonzalez,

Lunchroom Lady; Mary Ernesti, Human Resources (“Defendant or Defendants”).

                                           BACKGROUND

       The Plaintiff sought employment or was employed by the defendant at 42 West Madison,

Chicago, Illinois 60602. Plaintiff was employed but is no longer employed by the defendant. The

defendant discriminated against the plaintiff on or about, or beginning on or about, May 24, 2016.
   Case: 1:17-cv-01337
Defendant is not a federal Document  #: 41
                           governmental    Filed:and
                                        agency,   11/13/17  Page has
                                                     the plaintiff 2 offiled
                                                                        10 PageID   #:115 the
                                                                             charge against

defendant asserting acts of discrimination indicated in this complaint with the United States Equal

Employment Opportunity Commission (“EEOC”), on or about January 4, 2017. It is the policy of

both the Equal Employment Opportunity Commission and the Illinois Department of Human Rights

to cross-file with the other agency all charges received. The Plaintiff has no reason to believe that

this policy was not followed in this case. The United States Equal Employment Opportunity

Commission issued a Notice of Right to Sue, which was received by the plaintiff on February 10,

2017.

        The defendant discriminated against the plaintiff because of the plaintiff’s (a) Age (Age

Discrimination Employment Act); (b) Disability (American with Disabilities Act or Rehabilitation

Act); (c) Race (Title VII of the Civil Rights act of 1964 and 42 U.S.C. §1981). Chicago Public

School aka City of Chicago, Board of Education Chicago Board of Education, School Directors of

District No. 299, County of Cook and State of Illinois (“Chicago Public Schools”: or “CPS”), a

corporate, governmental unit, and a political subdivision of the State of Illinois, established

pursuant to the laws of the State of Illinois (The Board of Education is located in Chicago, Illinois,

within the jurisdiction of Northern District of Illinois, Eastern Division); Damir Ara, Assistant

Principal at Lane Technical High School; Mollie Hart, Human Resources personnel; Gabriela

Gonzalez, Lunchroom Lady; Mary Ernesti, Human Resources (“Defendant or Defendants”) or as

other local governmental agency and pursuant to 42. U.SC. §1983), plaintiff further alleges

discrimination on the basis of race.

                                       Jurisdiction and Venue

         This Court has jurisdiction over statutory violation alleged is conferred as follows: for

Title VII claims by 28 U.S.C. §1331, 28 U.S.C. §1343(a)(3), and 42 U.S.C. §2000e-5(f)(3); for 42

U.S.C. §1331, 28 U.S.C. §1343(a)(3), and 42 U.SC. §2000e-5(f)(3); for 42 U.S.C. §1981 and §1983

by 42 U.S.C. §1988; for the ADEA by 42 U.S.C. §12117; for Rehabilitation Act, 29 U.S.C. §791.
   Case: 1:17-cv-01337
      Venue               Document
            is proper in this           #: 41 Filed:
                              judicial district       11/13/17
                                                under 42 U.S.C. §Page 3 of 10 PageID
                                                                  2000e-5(f)(3),       #:116and
                                                                                 § 2000e6(b),

28 U.S.C. § 1391 (b) because it is where a substantial part of the events or omissions giving rise

to the cause of action occurred.

         The Defendant is Chicago Public School aka City of Chicago, Board of Education

Chicago Board of Education, School Directors of District No. 299, County of Cook and State of

Illinois (“Chicago Public Schools”: or “CPS”, or “Board of Education”), a corporate,

governmental unit, and a political subdivision of the State of Illinois, established pursuant to the

laws of the State of Illinois (The Board of Education is located in Chicago, Illinois, within the

jurisdiction of Northern District of Illinois, Eastern Division), is a corporate, governmental body,

and a political subdivision of the State of Illinois, established pursuant to the laws of the State of

Illinois. The Board of Education is located in Chicago, Illinois, within the jurisdiction of this

Court.

         The Board of Education is a "person" within the meaning of 42 U.S.C. § 2000e(a), and an

employer within the meaning of 42 U.S.C. § 2000e(b).

         On or around May 24, 2016, Plaintiff filed a timely charge of discrimination (charge

number 440-2017-00969) with the Chicago Office of the Equal Employment Opportunity

Commission ("EEOC") alleging that she had been discriminated against based on age, race and

disability. Pursuant to Section 706 of Title V Il, the EEOC investigated the charge, found

reasonable cause to believe that a Title V Il violation had occurred with respect to Plaintiff and a

class of similarly situated individuals, and unsuccessfully attempted to conciliate the charge. The

EEOC subsequently issued a right to sue letter.

         Plaintiff alleges that she has been discriminated against because of her face, Black,

retaliated against in violation of Title VII of the Civil Rights Act of 1964, as amended. Plaintiff

further alleges that she has been discriminated against because of her age 56 (year of birth: 1960)

and retaliated against in violation of the Age Discrimination in Employment Act of 1967, as

amended; a Plaintiff alleges that she has been discriminated against because of her disability, and

retaliated against in violation of the Americans with Disabilities act of 1990, as amended).
    Case: 1:17-cv-01337
       Plaintiff sent notice Document
                             to the Board#:of41 Filed: 11/13/17
                                              Education           Page
                                                        of its intent    4 ofa10
                                                                      to file    PageIDagainst
                                                                              complaint #:117 the

Board of Education for violating Title VII with respect to the allegations raised in the referred

EEOC charges, including allegations of a pattern or practice of discrimination. All conditions

precedent to the filing of this Complaint have been performed or have occurred.

                            Factual Allegations Common to All Counts

         Defendant is Chicago Public School aka City of Chicago, Board of Education Chicago

Board of Education, School Directors of District No. 299, County of Cook and State of Illinois

(“Chicago Public Schools”: or “CPS”), a corporate, governmental unit, and a political subdivision

of the State of Illinois, established pursuant to the laws of the State of Illinois (The Board of

Education is located in Chicago, Illinois, within the jurisdiction of Northern District of Illinois,

Eastern Division); Damir Ara, Assistant Principal at Lane Technical High School; Mollie Hart,

Human Resources personnel; Gabriela Gonzalez, Lunchroom Lady; Mary Ernesti, Human

Resources (“Defendant or Defendants”) terminated the plaintiff’s employment; failed to provide

reasonably accommodation for plaintiff’s disabilities; failed to stop harassment; retaliated against

the plaintiff because the plaintiff did something to assert rights protected by the laws identified in

above.

          On or about November 28, 2016, plaintiff was wrongfully terminated by Mary Ernesti

after plaintiff asserted her protected rights by the laws identified above which include but limited

to intimidation harassment, civil rights violation, age discrimination, disability discrimination.

summary of the teacher's overall strengths and weaknesses, and an overall rating.


         Plaintiff files this motion in response and pursuant to the United States Constitution and

Civil Rights Act of 1964 as amended, violation of the Americans with Disabilities Act

(“ADA”), the Age Discrimination in Employment Act (“ADEA”), Title VII of the Civil

Rights Act of 1964 (“Title VII”) and 42 U.S.C. Sections 1981 and 1983. Defendants have

obstructed Plaintiff’s civil and constitutional rights as follows: On or about May 24, 2016, Plaintiff
was Case:  1:17-cv-01337
     subjected             Document #:assaults
               to brutal co-conspiracy 41 Filed:  11/13/17
                                               from  Damir Page 5 of 10 PageID
                                                           Ara, Assistant        #:118
                                                                          Principal at Lane

Technical College Prep High School.


        Plaintiff alleges that Damir Ara, Assistant Principal at Lane Technical College Prep

committed egregious fraud and waste by using his governmental position as assistant principal to

create a retaliatory, hostile and intimidating work environment for her; (1) Damir Ara, Assistant

Principal at Lane Technical College Prep intentionally and knowingly refused to ensure that a

public school student receive proper medical care for a bleeding complication, ensure that fire codes

were not violated by the misuse of government property by the lunchroom personnel and to ensure

the protection and safety operation of the building and personnel at Lane Tech; (2) Damir Ara,

Assistant Principal at Lane Technical College Prep, Gabriela Gonzalez, Lunchroom Manager at

Lane Technical High School falsely imprisoned Plaintiff and more than 35 Chicago Public

School children of color i at a Board of Education, City of Chicago, Chicago Public

Schools; (3) wherein, Lunchroom Lady Gonzalez contributed to the head injuries

sustained by the female student on or about May 24, 2016 at Lane Technical High

School, Chicago Public School aka City of Chicago, Board of Education Chicago Board of

Education, School Directors of District No. 299, County of Cook and State of Illinois (“Chicago

Public Schools”: or “CPS”), a corporate, governmental unit, and a political subdivision of the State

of Illinois, established pursuant to the laws of the State of Illinois (The Board of Education is located

in Chicago, Illinois; (4) Lunchroom Lady Gonzalez further endangered the safety of the

female student by obstructing her right to medical care at Chicago Public School aka City

of Chicago, Board of Education Chicago Board of Education, School Directors of District No. 299,

County of Cook and State of Illinois (“Chicago Public Schools”: or “CPS”), a corporate,

governmental unit, and a political subdivision of the State of Illinois, established pursuant to the

laws of the State of Illinois (The Board of Education is located in Chicago, Illinois); (5) While at

Chicago Public School aka City of Chicago, Board of Education Chicago Board of Education,
   Case:
School    1:17-cv-01337
       Directors of DistrictDocument
                             No. 299, #: 41 Filed:
                                      County       11/13/17
                                               of Cook      Pageof
                                                       and State 6 of 10 PageID
                                                                   Illinois       #:119
                                                                            (“Chicago Public

Schools”: or “CPS”), a corporate, governmental unit, and a political subdivision of the State of

Illinois, established pursuant to the laws of the State of Illinois (The Board of Education is located

in Chicago, Illinois, Damir further endangered the safety of the students by leaving the

Chicago Public School students unsupervised and exposing the other over 1,000 children

to further child endangerment; (6) Damir Ara failed to provide medical care for the

injured white female student for blood borne pathogens.1 (325 ILCS/5 et. seq.)


       Additionally, Damir Ara and Lunch Lady Gonzalez violated fire building codes

at an Illinois Public School by falsely imprisoning from those 35 Chicago Public School

children in a closed or confined facility.


               But, when Plaintiff complained of these egregious violations of 325

ILCS/5 et, seq. and fire code violations, plaintiff was fired, harassed, lied on, and called

the “n” word. Defendant immediate suspended Plaintiff because she evoked her civil

rights by under the federal constitution. Defendant terminated Plaintiff because she



1

              (105 ILCS 5/34-18.8) (from Ch. 122, par. 34-18.8)
               Sec. 34-18.8. AIDS training. School guidance counselors,
          nurses, teachers and other school personnel who work with pupils
          may be trained to have a basic knowledge of matters relating to
          acquired immunodeficiency syndrome (AIDS), including the nature
          of the disease, its causes and effects, the means of detecting
          it and preventing its transmission, the availability of
          appropriate sources of counseling and referral, and any other
          information that may be appropriate considering the age and
          grade level of such pupils. The Board of Education shall
          supervise such training. The State Board of Education and the
          Department of Public Health shall jointly develop standards for
          such                                                  training.
          (Source: P.A. 86-900.)
   Case:her
required 1:17-cv-01337  Document #: (Race/Color
            disability medication.   41 Filed: 11/13/17 Page 7 of &
                                                  Discrimination  10 Harassment:
                                                                     PageID #:120 It is

unlawful to harass a person because of that person's race or color. Harassment can

include, for example, racial slurs, offensive or derogatory remarks about a person's race

or color, or the display of racially-offensive symbols. Although the law doesn't prohibit

simple teasing, offhand comments, or isolated incidents that are not very serious,

harassment is illegal when it is so frequent or severe that it creates a hostile or offensive

work environment or when it results in an adverse employment decision (such as the

victim being fired or demoted).       (The harasser can be the victim's supervisor, a

supervisor in another area, a co-worker, or someone who is not an employee of the

employer, such as a client or customer.))


Plaintiff alleges that this response was, of course, a distraction from the real criminal

activities that appeared to be instituted by Damir Ara and Lunch Lady Gonzalez.


       Despite the employment of other assistant principals at Lane Technical High

School, Lunch Lady Gonzalez made her fraudulent and nefarious statements to her

advocate, Defendant, Damir Ara. Defendant Mollie Hart and Defendant Mary Ernesti

appeared to have conspired with Defendant Gonzalez and Damir Ara by subjecting

Plaintiff and the Chicago Public School children to Jim Crow an educational

environment. Plaintiff and Chicago Public Schools children were confined to what seem

like a cage, prison because of Plaintiff’s race, disability and age. Defendants were in no

way acting under the director of the board within the course or scope of his duties.

Therefore, Board should not use federal, state and City of Chicago tax payer’s revenue

to represent the Defendant Damir Ara, Defendant Mollie Hart, Defendant Mary Ernesti,

Defendant Gabriela Gonzalez whom Plaintiff believe have committed criminal and Jim
   Case:
Crow acts1:17-cv-01337 Document
          against children       #: 41 Filed:
                           and children       11/13/17
                                        of color       Page 8Public
                                                  at Chicago  of 10 PageID  #:121
                                                                    School aka City of

Chicago, Board of Education Chicago Board of Education, School Directors of District No. 299,

County of Cook and State of Illinois (“Chicago Public Schools”: or “CPS”), a corporate,

governmental unit, and a political subdivision of the State of Illinois, established pursuant to the

laws of the State of Illinois (The Board of Education is located in Chicago, Illinois. 105 ILCS

5/34-18.1. +


       +Plaintiff further objects to Board of Education, City of Chicago counsel wherein

she states in part “. . . (1) all claims against Ara, Gonzalez and Hart due to Plaintiff’s

failure to allege any factual basis for such claims; (2) the ADA, ADEA and Title VII

claims against Ara, Ernesti, Gonzalez and Hart, because there is no individual liability

under those statutes; (3) all official capacity claims against Ara, Ernesti, Gonzalez and

Hart, which would be duplicative of such claims against the Board; (4) all Section 1981

claim against Defendants, as such a claim is not viable against state actors; (5) claims

against Ara, Gonzalez and Hart under Sections 1981 and 1983 due to Plaintiff’s failure

to allege any “personal involvement” by them; (6) any Section 1983 claim against the

Board due to Plaintiff’s failure to plead facts supporting Monell liability. . .” In Brown

v. Board of Education, the Supreme Court recognized that racial barriers and injustice

in education could no longer be tolerated. 347 U.S. 483 (1954).


       Damir Ara, Assistant Principal at Lane Technical High School; Mollie Hart, Human

Resources personnel; Gabriela Gonzalez, Lunchroom Lady; Mary Ernesti, Human Resources

(“Defendant or Defendants”) conduct has caused irreparable damages to Plaintiff and perhaps to

Chicago Public Schools students.
      Case: 1:17-cv-01337
        Therefore,         Document
                    the plaintiff      #: 41the
                                  ask that    Filed: 11/13/17
                                                 court         Page
                                                       direct the   9 of 10 PageID
                                                                  defendant         #:122 the
                                                                             to re-employ

plaintiff; promote plaintiff, provide reasonable accommodation for the plaintiff’s

disabilities and award punitive, compensatory, treble statutory damages. If available

grant plaintiff’s appropriate injunctive relief, loss wages, liquidated/double damages,

damages, front pay, compensatory damages, punitive damages, prejudgment interest,

post-judgment interest and costs.


                       Annie Burton


                       By Annie Burton, Plaintiff/

i
    Sec. 34-18.1. Protection from suit. The board shall insure or indemnify and

protect the board, Chicago Schools Academic Accountability Council, former

School Board Nominating Commission, Local School Councils, or former Sub district

Councils, any member of the board, Chicago Schools Accountability Council, former

School Board Nominating Commission, Local School Council, or former Sub district

Council, or any agent, employee, teacher, student teacher, officer, or member

of the supervisory staff of the school district against financial loss and

expense, including reasonable legal fees and costs arising out of any claim,

demand, suit, or judgment by reason of alleged negligence, alleged violation of

civil rights occurring on or after September 5, 1967, or alleged wrongful act

resulting in death or bodily injury to any person or accidental damage to or

destruction of property, within or without the school premises, provided such

board member, agent, employee, teacher, student teacher, officer or member of

the supervisory staff, at the time of the occurrence was acting under the

direction of the board within the course or scope of his duties.


             Sec. 34-18.6a. Orders of protection. The board of education
           may prohibit the disclosure by any school employee to any person
           against whom the school district has received a certified copy
           of an order of protection the location or address of the
           petitioner for the order of protection or the identity of the
           schools in the district in which the petitioner's child or
Case: 1:17-cv-01337 Document #: 41 Filed: 11/13/17 Page 10 of 10 PageID #:123
     children are enrolled. The school district shall maintain the
     copy of the order of protection in the records of the child or
     children enrolled in the district whose parent is the petitioner
     of          an          order           of          protection.
     (Source: P.A. 87-437.)


         (105   ILCS  5/34-18.7) (from   Ch.  122,   par.   34-18.7)
         Sec. 34-18.7. Adolescent and teen mental illness and
     suicide detection and intervention. School guidance counselors,
     teachers, school social workers, and other school personnel who
     work with pupils in grades 7 through 12 shall be trained to
     identify the warning signs of mental illness and suicidal
     behavior in adolescents and teens and shall be taught various
     intervention techniques. Such training shall be provided within
     the framework of existing in-service training programs offered
     by the Board or as part of the professional development
     activities required under Section 21-14 of this Code.
     (Source: P.A. 98-471, eff. 1-1-14.)
